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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :       Case No:
                                           :
               v.                          :
                                           :       VIOLATIONS:

                                           :       18 U.S.C. § 1361 & 2 (Aid and Abet Injury
                                                   or Depredation Against United States)

ETHAN NORDEAN                                      18 U.S.C. § 1512)(c)(2)(Obstruct or
                                                   Impede Official Proceeding

Also known as “Rufio Panman”,              :       18 U.S.C. § 1752(a)
                                           :       (Restricted Building or Grounds)
               Defendant.                  :
                                           :       40 U.S.C. § 5104(e)(2)(D)(G)
                                           :       (Violent Entry or Disorderly Conduct)


     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the Government states as follows:

       1.      The United States is investigating allegations that Ethan Nordean willfully and

knowingly entered the United States Capitol on January 6, 2021 without legal authority, and

participated in violent and disorderly conduct in violation of 18 U.S.C. § 1361 & 2,

1512(c)(2),1752(a) and 40 U.S.C. § 5104(e)(2)(D)(G).


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       2.      The Affidavit in Support of Criminal Complaint references evidence gathered in

the course of the investigation, including the use of a digital device in furtherance of the crime.

The public disclosure of the Government’s evidence could compromise the integrity of the

investigation, including the ability of the United States to locate and arrest the defendant, which

also may lead to the destruction of evidence in other locations including the digital device. Thus,

a sealing order is necessary to avoid hindering the ongoing investigation in this matter.

       2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure

serves a compelling interest; (2) there is a substantial probability that, in the absence of closure,

this compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United

States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       3.      In this matter, the United States has a compelling interest in preserving the integrity

of its investigation and arresting the defendant. A limited sealing order ensuring that filings

related to the Criminal Complaint and Arrest Warrant are not accessible from the Court’s public

files is narrowly tailored to serve a compelling interest.

       4.      Furthermore, the United States respectfully submits that complying with the normal

notice requirements of Washington Post would defeat the purpose of the motion to seal. Persons

who know the criminal justice system also know that docketing a motion to seal an Affidavit in

Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order, means that the

defendant is charged with a crime, and the Government intends to arrest her.




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 Thus, if this Motion or a sealing order were to become public, it would be the same as making

public the Complaint and Arrest Warrant.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.




                                                    Respectfully submitted,

                                                    MICHAEL SHERWIN
                                                    ACTING UNITED STATES ATTORNEY


                                                    By:      /s/ Jason McCullough
                                                    JASON B.A. MCCULLOUGH
                                                    Assistant United States Attorney
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                                               :       (Violent Entry or Disorderly Conduct)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has

established that a compelling governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.




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       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.

Date: 2/2/2021

                                                       ___________________________________
                                                       Zia M. Faruqui
                                                       UNITED STATES MAGISTRATE JUDGE




cc:    Jason B.A. McCullough
       Assistant United States Attorney
       United States Attorney’s Office
       555 Fourth Street, N.W.
       Washington, D.C. 20530




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